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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              SPARTANBURG DIVISION

 Vanida Khautisen, as Personal Representative
 of the Estate of Khouanexay Bill Sivilay,                  C/A No. 7:21-cv-3775-TMC

                               Plaintiff,

                 v.                                     PLAINTIFF’S RESPONSE TO
                                                       DEFENDANTS’ MOTION FOR A
 BHG Holdings, LLC, and BHG XXXVIII,                      PROTECTIVE ORDER
 LLC,

                               Defendants.


       Plaintiff Vanida Khautisen, as Personal Representative of the Estate of Khouanexay Bill

Sivilay, through undersigned counsel, hereby responds in opposition to Defendants BHG

Holdings, LLC, and BHG XXXVIII, LLC’s (collectively, “BHG”) motion for a protective order

to prevent the deposition of its Chief Executive Officer (CEO) Jay Higham.

I.     Background

       On July 21, 2023, Plaintiff served a notice of deposition for BHG’s CEO, Jay Higham. The

notice set the deposition for July 27, 2023, at BHG’s headquarters in Dallas, Texas. Plaintiff’s

counsel did not consult with Defendants’ counsel prior to setting that date. However, the letter to

opposing counsel transmitting the deposition notice stated, “If this date and time does not work for

you and your client, please provide me with proposed alternative dates for the deposition.” ECF

No. 77-8 at 1. When BHG’s counsel responded that “date does not work,” Plaintiff’s counsel

suggested dates in late August. Defendants’ counsel responded, “I appreciate the courtesy of

rescheduling. . . . We can work to schedule dates; however, we will concurrently move to quash

this notice under the apex doctrine . . . .” ECF No. 77-9 at 1. On July 26, 2023, BHG filed the

present motion for a protective order to quash the deposition notice.
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II.    Legal Standard

       Rule 26(b)(2)(C) of the Federal Rules of Civil Procedure provides,

       On motion or on its own, the court must limit the frequency or extent of discovery
       otherwise allowed by these rules or by local rule if it determines that:

       (i) the discovery sought is unreasonably cumulative or duplicative, or can be
       obtained from some other source that is more convenient, less burdensome, or less
       expensive;

The “apex doctrine” is “a tailored application of [Rule 26(b)(2)(C)] in specific instances involving

high-level or ‘apex’ officials.” Est. of Valentine ex rel. Grate v. South Carolina, No. CV 3:18-

00895-JFA, 2020 WL 12783948, at *1 (D.S.C. Aug. 13, 2020).

       The Apex doctrine recognizes that “deposition notices directed at an official at the
       highest level or ‘apex’ of corporate management . . . creates a tremendous potential
       for abuse or harassment.” Celerity, Inc. v. Ultra Clean Holding, Inc., No. C 05-
       4374, 2007 WL 205067 at *3 (N.D. Cal. Jan. 25, 2007). The purpose of the doctrine
       is to ensure that the liberal rules of procedure for depositions are used only for their
       intended purpose and not as a litigation tactic to create undue leverage by harassing
       the opposition or inflating its discovery costs. Smithfield Bus. Park, LLC v. SLR
       Int'l. Corp., No. 5:12-cv-282, 2014 WL 547078 at * 2 (E.D.N.C. Feb. 10, 2014).

In re Lipitor (Atorvastatin Calcium) Mktg., No. 2:14-MN-02502-RMG, 2014 WL 12621613, at *2

(D.S.C. Nov. 13, 2014). “Most courts applying the apex doctrine have required that, before

deposing a defendant’s high ranking officer, ‘the plaintiff must show (1) the executive has unique

or special knowledge of the facts at issue and (2) other less burdensome avenues for obtaining the

information sought have been exhausted.’” Id. (quoting Smithfield Bus., 2014 WL 547078 at *2).

“Put simply, the apex doctrine is the application of the rebuttable presumption that the deposition

of a high-ranking corporate executive either violates Rule 26(b)(2)(C)’s proportionality standard

or, on a party's motion for a protective order, constitutes ‘good cause’ for such an order as an

‘annoyance’ or ‘undue burden’ within the meaning of Rule 26(c)(1).” Performance Sales & Mktg.

LLC v. Lowe’s Companies, Inc., No. 5:07-CV-00140-RLV, 2012 WL 4061680, at *4 (W.D.N.C.

Sept. 14, 2012).


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III.    Argument

A.      The information sought from Mr. Higham is unavailable from other sources.

        Plaintiff seeks information from Mr. Higham regarding clinic costs, revenues, budgeted

operations, regulatory compliance, and legal entity structure. Plaintiff has attempted to seek this

information from other sources. Plaintiff requested production of Spartanburg clinic budgets and

operating costs, personnel files for counselors at the Spartanburg clinic, and electronically stored

data on the frequency of counseling sessions, but BHG has refused to provide the requested

information. See 2d Mot. Compel, ECF No. 75. Plaintiff also asked witnesses for this information,

including subordinate executives BHG identified under Rule 30(b)(6) to speak for BHG on these

topics. But no one could provide answers.

        For example, Plaintiff sought to learn whether the number and qualification of counselors

at BHG’s Spartanburg clinic complied with South Carolina regulations, which allow no fewer than

one counselor for every fifty patients or fraction thereof. BHG identified Samson Teklemariam

under Rule 30(b)(6) to speak for BHG on topics including “counseling policy and procedure,”

“counseling operations,” or any “counseling-related matter.” See Exhibit A (Defendants’ amended

Rule 30(b)(6) designations). 1 On the question of counseling compliance, he testified,

        Q. Ok. And do you know the names of the counselors at the Spartanburg clinic?

        A. The current counselors or the counselors on this case?

        Q. On this case

        A. Yes. I don’t know them but I know their record or I looked at their names.


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   BHG’s designations state that Mr. Teklemariam would testify to “non-patient specific”
counseling matters. Plaintiff objected that someone had to testify regarding counseling matters
specific to Trent Neal and the issues in this case. That objection was resolved, however, when Mr.
Teklemariam testified in his Rule 30(b)(6) deposition that he was familiar with Trent Neal’s
treatment. See Teklemariam Dep. Tr. 8:4–7. Counsel agreed at the conclusion of the Teklemariam
deposition that his testimony did in fact cover “Trent Neal-specific” counseling matters.


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       Q. Do you know about their certifications or licensure?

       A. I don’t, unfortunately. I didn't look at their HR record, you know, their historical
       record.

       ...

       Q. Do you know how many counselors, ballpark?

       A. No. Again, that's more in the HR records. I mean, if I -- I could have looked
       that up. It wouldn’t have taken me long.

Samson Teklemariam Dep. Tr. 10:1–11, 12:1–4 (attached as Exhibit B).

       Q. And I’m going to now kind of skip to page 14 so we can have these definitions.
       And under -- in kind of in the middle of the page, there's section 505 and (D) says”
       The opioid treatment program shall have at least one full-time counselor on staff
       for every 50 patients or fraction thereof,” and then “Counselor shall be qualified as
       specified . . .” in a later section.
                During the time of Trent Neal's treatment, did the Spartanburg clinic have
       at least one full-time counselor for every 50 patients?

       A. I could guess that would be it, but I didn't have access to the staffing records. I
       have access to the clinical service model, clinical service delivery, clinical policies.

       Q. Okay.

       A. But I could guess that they did, you know.

       Q. And then skipping to the next page, 15, the section 508 that was referenced, and
       it says “Each facility shall have at least one staff counselor who’s fully certified or
       licensed,” and then “Non-certified or licensed counselors shall be under direct
       supervision . . . .”
               And, again, I realize this might be a little repetitive but I'll just ask and move
       on.
               Trent Neal’s treatment at BHG Spartanburg clinic, was there a fully-
       licensed certified staff counselor supervising the non-certified staff counselors?

       A. I haven’t looked at the staffing records.

Id. 17:9–18:24.

       Q. Okay. You don’t know if the -- the two, Timothy Nesbitt or McKinley Anderson
       [Mr. Neal’s counselors], have any certifications?

       A. No, no.



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Teklemariam Dep. Tr. 19:23–20:3.

       Plaintiff put the same question to the director of the Spartanburg clinic, Joseph Barr:

       Q. --well, let me ask it this way. Do you -- do you know how many counselors you
       currently have who were employed in 2020?

       A. Oh, wow.

Joseph Barr Dep. Tr. 79:20–23 (attached as Exhibit C). Mr. Barr was unable (or unwilling) even

to answer basic questions about the clinic’s operations and budget. He testified that “every month

the regional director and myself will go over budget, and she’ll let me know if I met budget or

didn’t meet budget for the month,” id. 28:4–7, but when asked what the monthly profit is, he could

only say:

       Q. . . .So, I mean, just if it helps you remember -- I assume you’re not going to
       remember any of these numbers from 2020.

       A. I don’t remember the numbers --

       Q. That’s what I’m saying --

       A. -- two months ago.

       Q. -- but just the last one that you had, then. Just to give some sense, like, what was
       the bottom number?

       A. I honestly cannot remember. I know we --

       Q. Was it a positive number?

       A. I honestly don’t remember. I know we met budget, so. I can't give you the -- the
       exact number.

       Q. Well, I'm going to assume -- am I fair to assume that meeting budget means that
       the bottom line was -- was more than zero?

       A. Yes.

       Q. Okay.

       A. Yeah.



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       Q. And can you give me any sense of the scale of these numbers? And what I mean
       by that is, are we talking about, you know, a thousand dollars profit in a month, a
       million dollars, you know, profit in a month? Just some --

       A. Yeah.

       Q. -- idea because I honestly have --

       A. That’s --

       Q. -- no idea how big a operation it is.

       A. Yeah. It’s definitely not a million. I can say that. Yeah. To be honest, like, I
       really can’t tell you because it’s – it’s very detailed. Hopefully, if -- as I continue
       to progress in the company, I'll get more, you know, into the knowledge of how
       they come up with some of the information. Like, I don’t -- I hear these names like
       adjusted EBITDA. I can’t tell you what that means, so.

       Q. Do you remember the EBITDA number?

       A. I don’t.

Ex. C 30:4–31:17 (Barr). Despite being the most senior manager of the Spartanburg clinic, Mr.

Barr could not even say how much BHG pays for methadone:

       Q. Okay. You know how -- how much does the -- the actual -- does the Methadone
       cost? Do you know?

       A. I don't know.

Id. 33:6–8.

       There is an intermediate, regional management structure between Mr. Barr and Mr.

Higham—the regional management Mr. Barr meets with monthly—but BHG testified that it would

be fruitless to seek answers from there:

       Q. Who was the regional director over the Spartanburg clinic at the relevant time
       period?

       A. Yeah, I’m not sure about the exact name, and in fact, the regional director was
       left a couple of times, so I can tell you that the Regional Vice President who filled
       in in that role was Amanda Karistai.




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Marlin Martin Dep. Tr. 19:7–13 (attached as Exhibit D). Dr. Martin was identified under Rule

30(b)(6) to speak for BHG on topics including “any non-counseling corporate governance or

compliance matters,” “any non-counseling corporate policy and procedure,” “any non-counseling

operations matter,” and “[t]he legal entity structure, organizational structure, and management

structure of, and the administrative, operational, and financial relationship between, BHG

Holdings, LLC, BHG XXXVIII, LLC, and the BHG Spartanburg Treatment Center.” Ex. A.

        Legal entity structure now is an especially relevant topic because until the present motion

for a protective order, BHG had never argued BHG Holdings is an improper defendant in this

action. BHG now appears to argue, for the first time, that BHG Holdings may not be a proper

defendant:

        BHG Spartanburg is a South Carolina limited liability company headquartered in
        Spartanburg, South Carolina. BHG Spartanburg is a separate legal entity from its
        parent company, BHG Holdings. . . . At this time, it is entirely irrelevant and there
        is no evidence that BHG Holdings and there is no evidence that BHG Holdings and
        BHG Spartanburg have failed to follow corporate formalities.

Mem. Supp. Defs.’ Mot. Protective Order 10–11, ECF No. 77-1. 2

        BHG identified Mr. Martin under Rule 30(b)(6) to testify about legal entity structure. He

testified as follows:

        Q. And then, on the sort of legal entity structure, is the Spartanburg clinic in its own
        LLC?

        A. Yes.

        Q. And it’s the BHG, I think it's XXXVIII?


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  Plaintiff disputes Defendants’ representation to the Court that there is no evidence of failure to
follow corporate formalities. One example of BHG’s failure to follow formalities is that the
insurance coverage BHG has identified as being applicable to Plaintiff’s claims was purchased by
BHG Holdings and BHG Holdings is the only named insured. BHG Spartanburg carries no
insurance for the primary risk of the business because it is a “façade for the operations of the
dominant” owner, which does carry insurance for its operations. Cf. Mid-S. Mgt. Co. Inc. v.
Sherwood Dev. Corp., 649 S.E.2d 135, 141 (S.C. Ct. App. 2007).


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       A. I believe that’s correct, yes.

       Q. And who’s the LLC, you know, manager?

       A. The officers of the LLC would include myself. It would also include our chief
       financial officer for the organization and then also our chief executive officer. So
       we are considered the board for that entity.

       Q. And then, for the members, obviously, there’s a BHG Holding. Is that a direct
       relationship or is there an intermediate structure?

       A. It is an intermediate structure, so it’s above the organization, yeah, as a funder.

       Q. Well, and maybe I wasn’t clear. Well, who are the members of BHG XXXVIII?

       A. The members of BHG XXXVIII are the individuals that I named, including
       myself and we are employed by BHG Holdings.

       Q. Okay. When I say a member of an LLC, I’m referring to an owner, not
       necessarily --

       A. On owner?

       Q. Yeah.

       A. Yeah, we’re --

       Q. Who owns [] BHG XXXVIII?

       A. Yeah, so, BHG Holdings is the owner and we are the representatives reflected
       as the point of contact for that entity.

Ex. D 17:4–18:8 (Martin). Mr. Martin appears to have testified that BHG Holdings is the only

member of BHG XXXVIII, and that the managers of BHG XXXVIII are himself, Mr. Higham,

and James Hopwood (BHG’s Chief Financial Officer), who are all employed by BHG Holdings.

       Mr. Martin’s testimony is inconsistent with BHG’s answers to the Court’s Local Civil Rule

26.01 interrogatories, which state:

       (1) BHG Holdings, LLC is owned by TVG-BHG Intermediate Blocker Corp., a
       Delaware corporation, and BHG XXXVIII, LLC is owned by VCPHCS L.P., a
       Delaware limited partnership.




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“TVG-BHG” apparently refers to “The Vistria Group”, the private equity fund that currently owns

BHG, and BHG. A “blocker” corporation is “an entity treated as a corporation for U.S. federal

income tax purposes that is interposed between” U.S. tax-exempt organizations or non-U.S.

investors “and the underlying investment.” Erin Cleary et al., Thinking Through the Tax-Blocker

Endgame, Private Equity Report Vol. 20 No. 3., Debevoise & Plimpton (Dec. 2020), available at

https://www.debevoise.com/insights/publications/2020/12/thinking-through-the-tax-blocker-end-

game. “[P]rivate equity sponsors often use blockers to ‘block’” unrelated business taxable income

for tax-exempt organizations and taxation on income effectively connected with a U.S. business

for foreign investors. Id. BHG’s blocker structure means non-American entities may be investing

in selling addictive drugs to drug addicts in the Upstate.

       BHG Holdings, LLC appears to be a “splitter,” a limited partnership or LLC created by the

private equity sponsor “to avoid tax leakage on its own interest.” Id. Often, a private equity fund

will have an operating partnership below the splitter, which may be the VCPHCS limited

partnership that owns the Spartanburg clinic (at least according to the interrogatory responses).

Per public records, the general partner of VCPHCS, LP, is VCPHCS Management, LLC.

Presumably VCPHCS Management, LLC, is ultimately owned by BHG Holdings, but the

relationship is unknown to Plaintiff.

B.     Mr. Higham has special knowledge relevant to this case.

       Mr. Higham has been BHG’s CEO for ten years, and he was President or CEO of a fertility

clinic chain for nine years before that. Having nearly 20 years of CEO leadership experience, he

must know what EBITDA means and what the budgeted EBITDA for his clinics is, at least within

an order of magnitude. He must know whether his clinics comply with applicable regulations.

And having been CEO of a business selling methadone for ten years, he will certainly know what

his company pays to buy methadone.


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        Perhaps most importantly, Mr. Higham is familiar with the complex legal entity structure

of his company that BHG now claims is a defense to Plaintiff’s claims. Mr. Martin clearly cannot

answer questions about BHG’s legal structure despite being designated to speak on that topic by

BHG. Mr. Martin’s testimony is inconsistent with BHG’s interrogatory responses, and he did not

even know that LLCs are owned by “members.” And he is a senior BHG executive who is Mr.

Higham’s direct subordinate. There is no one else to turn to but Mr. Higham.

        BHG’s Rule 30(b)(6) witness for legal entity structure questions, Mr. Martin, did not even

know what an LLC is, but Mr. Higham has deep knowledge and experience regarding the complex

legal entity structures of businesses, like BHG, that are owned by private equity firms. In addition

to being BHG’s CEO for 10 years, Mr. Higham is (or until recently was) a member of the board of

directors of a fertility clinic in Dubai that for some reason has satellite offices in India, and that

was owned by a private equity firm (TVM Capital Healthcare, which invests in healthcare

companies in “the Middle East and North Africa (MENA) region and Southeast Asia”) until it was

“flipped” to a Dubai-based hospital chain. Now that BHG argues BHG Holdings may somehow

be shielded from liability by its subsidiary BHG XXXVIII, Plaintiff has a pressing need to depose

the only employee can speak to BHG’s convoluted legal entity structure—Jay Higham.

IV.     Conclusion

        For the foregoing reasons, the Court should deny the motion for a protective order.

                                               Respectfully submitted,

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August 9, 2023
Columbia, South Carolina.




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